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                                             November 13, 2020
                                              BY ECF ONLY

Zahid N. Quraishi, U.S.M.J.
United States District Court for the District of New Jersey
Clarkson S. Fisher Bldg &I US Courthouse
Courtroom 7W
402 E. State Street
Trenton, NJ 08608

Re: McKeon v. City of Asbury Park et al; Civil Action No. 3:19-cv-08536-MAS-ZNQ

Dear Judge Quraishi:

        As the Court is aware, I represent Plaintiff Robert McKeon in the above-referenced matter. Per
the Court’s November 4, 2020 Order, I write to address the one remaining issue that stands in the way
of the parties’ bringing an end to this case: whether two OPRA requests Plaintiff made to the City of
Asbury Park in August, 2020 fall outside the terms of the settlement negotiated by the parties back on
August 28, 2019 and therefore need not be withdrawn by Plaintiff. As discussed below, because the
two OPRA requests are not “related to the civil litigation,” the prior agreement reached by the parties
does not require that they be withdrawn.

The Relevant Factual Background:

      At the conclusion of a settlement conference conducted by Your Honor on August 28, 2019, the
parties agreed upon the terms of a settlement to resolve the case—terms that were memorialized on a
“Term Sheet” signed off on by the parties. A copy of that “Term Sheet” is attached to this letter as
Exhibit A. Among the terms agreed to by the parties were the following: “No additional OPRA
requests on issues related to [the] civil litigation by McKeon;” and “withdrawal of pending OPRA
requests related to [the] civil litigation.”

       The parties’ efforts to generate a full and final agreement, based on the Term Sheet, were only
partially successful and ultimately required the parties to file cross-motions with this Court to enforce
the Settlement. The decision on those cross-motions was issued by Judge Shipp on September 25,
2020. A copy of Judge Shipp’s Memorandum Opinion, dated September 25, 2020, is attached to this
letter as Exhibit B. Among the issues addressed by Judge Shipp in his Opinion was the dispute

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between the parties as to the language regarding the withdrawal of OPRA requests that should be
included in the parties’ final agreement. Finding that the language proposed by Defendants was
inconsistent with the terms of the parties’ agreement as reflected on the Term Sheet, Judge Shipp
wrote the following:

     C. The OPRA Request Dispute

     Plaintiff argues that Defendants' Final Proposed Agreement's OPRA provisions are too
     broad. (Id. at 3.) The Court agrees. The Proposed Settlement Terms require Plaintiff to
     cease filing OPRA requests- and withdraw his pending OPRA requests- related to the
     instant civil litigation. (Proposed Settlement Terms *3.) The OPRA provisions contained
     in Defendants' Final Proposed Agreement's prevent Plaintiff from filing OPRA "[c]laims
     [Plaintiff] could have asserted through the date of th[e settlement a]greement or Plaintiff's
     employment with [Asbury Park]." (Defs.' Final Proposed Agreement 3.) This language,
     while including claims related to the instant litigation, prevents Plaintiff from filing
     OPRA requests on matters wholly unrelated to the instant matter. Such language,
     therefore, is not consistent with the plain language of the Proposed Settlement Terms and
     should not be included in the final settlement agreement.

See Exhibit B, Memorandum Opinion at p. 13.

      In the weeks that followed the issuance of that Memorandum Opinion, the parties engaged in
discussions to draft an agreement consistent with the Court’s Opinion. As to the issue of Plaintiff’s
pending OPRA requests, the parties were largely successful in reaching agreement as to which ones
were “related to the civil litigation” and needed to be withdrawn, and which ones were not “related to
the civil litigation and therefore need not be withdrawn. However, the parties have not been able to
reach agreement as to two of these OPRA requests. As noted above, since it is Plaintiff’s position that,
since these two requests are not related to the civil litigation, the parties’ agreement (and Judge
Shipp’s Memorandum Opinion) do not require that they be withdrawn.

       The two OPRA requests that remain at issue are request #pr-359-2020, attached as Exhibit C to
this letter, and request # 360-2020, attached as Exhibit D to this letter. Plaintiff filed these two
requests in August 2020 after experiencing what he perceived to be the City’s engaging in a pattern of
imposing unnecessary costs, fees, and expenses on him in order to interfere with his obtaining
responses to his OPRA requests. Plaintiff had reason to believe that the City was placing such
obstacles in his path but was not placing similar obstacles in the path of others making OPRA
requests. In particular, Plaintiff was concerned that the City was putting these obstacles in his path in
order to interfere with his then-pending campaign for a seat on the Asbury Park City Council and/or in
order to retaliate against him for having filed a lawsuit against the City.

       A review of the two requests at issue shows that neither of them seek information “related to the
civil litigation.” The issues “related to the civil litigation” that were resolved at the settlement
conference that occurred on August 28, 2019 were the issues that had been raised by Plaintiff in his
Complaint: alleged violations by the City of Plaintiff’s rights under the FMLA; the NJLAD; and
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CEPA. None of the allegations in the Complaint referred in any way to the manner in which the City
was handling OPRA requests. Moreover, in filing the two OPRA requests that remain at issue,
Plaintiff is not seeking any information “related to the civil litigation;” rather he seeks information
regarding the City’s conduct that may have interfered with his rights to receive responses to OPRA
requests—exposing him to disparate treatment when compared to the City’s treatment of other
citizens.

       Moreover, in claiming that these two OPRA requests are somehow “related to the civil
litigation,” the City advances a dangerous position that, if accepted, would allow it to claim that every
time the Plaintiff chooses in the future to file an OPRA request, it is somehow “related to the civil
litigation”—basing such an argument on the fact that the Plaintiff had previously brought suit against
the City.

      For the foregoing reasons, the Court should find that the two OPRA requests at issue are not
“related to the civil litigation” and therefore need not be withdrawn.

                                               Very truly yours,

                                       SCHALL & BARASCH, L.L.C.

                                            /s/ Patricia A. Barasch

                                       BY: PATRICIA A. BARASCH

     cc: Stephen Boraske, Esq. (by ECF)
         Robert McKeon (by email only)




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                       EXHIBIT C
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 Request #pr-359-2020

 a) Provide copies of all responses from the Asbury Park City Clerk, to OPRA requests submitted during
 the time-period between January 1, 2019 and the current date, which included the following language in
 the responses: "legal review is necessary in order to determine whether such records are subject to
 production and, if so, to perform redactions as needed. It is anticipated that this legal review shall also
 encompass approximately ...... hours of time. The hourly rate for the City attorney is $160.00 per
 hour....." b) Provide copies of all responses from the Asbury Park City Clerk, to OPRA requests submitted
 during the time-period between January 1, 2019 and the current date, which included the following
 language in the responses: "In order to locate all of the above-referenced records, the City’s IT Director
 spent approximately .......hours. The IT Director’s hourly rate is $48.54 per hour. Therefore, the total cost
 associated with the time spent by the City’s IT Director, relating to your request, equates to ......." c)
 Provide copies of all responses from the Asbury Park City Clerk, to OPRA requests submitted during the
 time-period between January 1, 2019 and the current date, which included any request for payment of a
 fee for services of the City's attorney either rendered, or proposed to be rendered, in connection with
 the Clerk providing responses to such OPRA requests; d) Provide copies of all responses from the Asbury
 Park City Clerk, to OPRA requests submitted during the time-period between January 1, 2019 and the
 current date, which included any request for payment of a fee for services of the City's IT Director,
 either rendered, or proposed to be rendered, in connection with the Clerk providing responses to such
 OPRA requests; e) Provide copies of the actual OPRA requests received by the City Clerk, to which any of
 your responses in (a) through (d) above, apply.
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                       EXHIBIT D
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 Request #pr-360-2020

 a) Provide copies of all responses from the Asbury Park City Clerk, to OPRA requests submitted during
 the time-period between January 1, 2020 and the current date, which included the following language in
 the responses: "Your request requires additional time beyond the seven (7) business days to fulfill due
 to the voluminous amount of records and the ongoing COVID-19 pandemic"; b) Provide copies of all
 responses from the Asbury Park City Clerk, to OPRA requests submitted during the time-period between
 January 1, 2019 and the current date, which included the following language in the responses: "Your
 request requires additional time beyond the seven (7) business days to fulfill due to the voluminous
 amount of records"; c) Provide copies of the actual OPRA requests received by the City Clerk, to which
 any of your responses in (a) and (b) above, apply; d) For the period between November 30, 2019 and the
 current date, provide copies of all emails between Melody Hartsgrove and Donna Viero, which include
 the following keywords or any form of such keywords: "McKeon" and "OPRA" or "request"; e) For the
 period between November 30, 2019 and the current date, provide copies of all emails between Melody
 Hartsgrove, Joseph Dellaragione and/or Donna Viero, which include the following keywords or any form
 of such keywords: "McKeon" and "OPRA" or "request"; f) For the period between November 30, 2019
 and the current date, provide copies of all emails between Melody Hartsgrove, Tamica Smith and/or
 Donna Viero, which include the following keywords or any form of such keywords: "McKeon" and
 "OPRA" or "request"; g) For the period between November 30, 2019 and the current date, provide
 copies of all emails between Melody Hartsgrove, George Selah and/or Donna Viero, which include the
 following keywords or any form of such keywords: "McKeon" and "OPRA" or "request" ; h) For the
 period between November 30, 2019 and the current date, provide copies of all emails between Melody
 Hartsgrove, Donna Viero and/or any City DPW staff member, which include the following keywords or
 any form of such keywords: "McKeon" and "OPRA" or "request" ; i) Provide copies of all responses from
 the Asbury Park City Clerk, to OPRA requests submitted during the time-period between January 1, 2019
 and the current date, which made any reference to the requestor's inspection of the documents
 requested, in the City's Municipal offices; j) For the period between November 30, 2019 and the current
 date, provide copies of all emails between Melody Hartsgrove and/or any current member of the City
 Council or Mayor John Moor, which include the following keywords or any form of such keywords:
 "McKeon" and "OPRA" or "request"; k) For the period between November 30, 2019 and the current
 date, provide copies of all emails between Donna Viero and/or any current member of the City Council
 or Mayor John Moor, which include the following keywords or any form of such keywords "McKeon"
 and "OPRA" or "request".
